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$2        5HY %LOORI&RVWV7;1'


                                                 81,7('67$7(6',675,&7&2857
                                                                                             IRUWKH
                                                                       Northern District of Texas
                                                                    BBBBBBBBBB'LVWULFWRIBBBBBBBBBB

                           ROBERT COLLIER

                                          Y                                                               &DVH1R 3:17-cv-3362
      DALLAS COUNTY HOSPITAL DISTRICT d/b/a
       PARKLAND HEALTH & HOSPITAL SYSTEM

                                                                                 BILL OF COSTS
-XGJPHQWKDYLQJEHHQHQWHUHGLQWKHDERYHHQWLWOHGDFWLRQRQ                                         06/06/2019                  DJDLQVW          Plaintiff Robert Collier               
                                                                                                            'DWH
WKH&OHUNLVUHTXHVWHGWRWD[WKHIROORZLQJDVFRVWV

)HHVRIWKH&OHUN                                                                            

)HHVIRUVHUYLFHRIVXPPRQVDQGVXESRHQD                                                                                          718.50

)HHVIRUSULQWHGRUHOHFWURQLFDOO\UHFRUGHGWUDQVFULSWVQHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH                                                               5,841.63

)HHVDQGGLVEXUVHPHQWVIRUSULQWLQJ                                                    
)HHVIRUZLWQHVVHV LWHPL]HRQSDJHWZR                                                                                        0.00

)HHVIRUH[HPSOLILFDWLRQDQGWKHFRVWVRIPDNLQJFRSLHVRIDQ\PDWHULDOVZKHUHWKHFRSLHVDUH
QHFHVVDULO\REWDLQHGIRUXVHLQWKHFDVH                                       96.40

'RFNHWIHHVXQGHU86&                                                     
&RVWVDVVKRZQRQ0DQGDWHRI&RXUWRI$SSHDOV                                          
&RPSHQVDWLRQRIFRXUWDSSRLQWHGH[SHUWV                                               
&RPSHQVDWLRQRILQWHUSUHWHUVDQGFRVWVRIVSHFLDOLQWHUSUHWDWLRQVHUYLFHVXQGHU86&     

                                                                                                                                               727$/                       6,656.53

63(&,$/127($WWDFKWR\RXUELOODQLWHPL]DWLRQDQGGRFXPHQWDWLRQIRUUHTXHVWHGFRVWVLQDOOFDWHJRULHV

                                                                                        Declaration
          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKHIRUHJRLQJFRVWVDUHFRUUHFWDQGZHUHQHFHVVDULO\LQFXUUHGLQWKLVDFWLRQDQGWKDWWKH
VHUYLFHVIRUZKLFKIHHVKDYHEHHQFKDUJHGZHUHDFWXDOO\DQGQHFHVVDULO\SHUIRUPHG$FRS\RIWKLVELOOKDVEHHQVHUYHGRQDOOSDUWLHV
LQWKHIROORZLQJPDQQHU
         ✔
         u          (OHFWURQLFVHUYLFH                                    u         )LUVWFODVVPDLOSRVWDJHSUHSDLG
         u          2WKHU
           V$WWRUQH\              /s/ Stacey Cho Hernandez
                          1DPHRI$WWRUQH\ Stacey Cho Hernandez
)RU            Dallas County Hospital District d/b/a Parkland Health & Hospital System                                                              'DWH          06/20/2019
                                                             1DPHRI&ODLPLQJ3DUW\

                                                                                   Taxation of Costs
&RVWVDUHWD[HGLQWKHDPRXQWRI                     $6656.53                                                                                            DQGLQFOXGHGLQWKHMXGJPHQW
     Karen Mitchell                                                               %\                          s/N. Taylor                                          07/05/2019
                           &OHUNRI&RXUW                                                                       'HSXW\&OHUN                                             'DWH
           Case%LOORI&RVWV
$2 5HY 3:17-cv-03362-D
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                                     81,7('67$7(6',675,&7&2857
                                    Witness Fees (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                                     $77(1'$1&(           68%6,67(1&(            0,/($*(
                                                                                                                                       7RWDO&RVW
          1$0(&,7<$1'67$7(2)5(6,'(1&(                                   7RWDO                7RWDO                7RWDO        (DFK:LWQHVV
                                                                     'D\V      &RVW       'D\V      &RVW      0LOHV      &RVW


                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00



                                                                                                                                                $0.00


                                                                                                                                                $0.00


                                                                                                                   TOTAL                        $0.00


                                                                      NOTICE

  Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
  ³6HF9HULILFDWLRQRIELOORIFRVWV´
      ³%HIRUHDQ\ELOORIFRVWVLVWD[HGWKHSDUW\FODLPLQJDQ\LWHPRIFRVWRUGLVEXUVHPHQWVKDOODWWDFKWKHUHWRDQDIILGDYLWPDGHE\KLPVHOIRUE\
  KLVGXO\DXWKRUL]HGDWWRUQH\RUDJHQWKDYLQJNQRZOHGJHRIWKHIDFWVWKDWVXFKLWHPLVFRUUHFWDQGKDVEHHQQHFHVVDULO\LQFXUUHGLQWKHFDVHDQG
  WKDWWKHVHUYLFHVIRUZKLFKIHHVKDYHEHHQFKDUJHGZHUHDFWXDOO\DQGQHFHVVDULO\SHUIRUPHG´

  See also Section 1920 of Title 28, which reads in part as follows:
      ³$ELOORIFRVWVVKDOOEHILOHGLQWKHFDVHDQGXSRQDOORZDQFHLQFOXGHGLQWKHMXGJPHQWRUGHFUHH´

  The Federal Rules of Civil Procedure contain the following provisions:
  RULE 54(d)(1)
  &RVWV2WKHUWKDQ$WWRUQH\V¶)HHV
      8QOHVVDIHGHUDOVWDWXWHWKHVHUXOHVRU DFRXUWRUGHUSURYLGHVRWKHUZLVHFRVW V²RWKHUWKDQDWWRUQH\ VIHHV²VKRXOGEHDOOR ZHGWRWKH
  SUHYDLOLQJSDUW\%XWFRVWVDJDLQVWWKH8QLWHG6WDWHVLWVRIILFHUVDQGLWVDJHQFLHVPD\EHLPSRVHGRQO\WRWKHH[WHQWDOORZHGE\ODZ7KHFOHUN
  PD\WD[FRVWVRQGD\ VQRWLFH2QPRWLRQVHUYHGZLWKLQWKHQH[WGD\VWKHFRXUWPD\UHYLHZWKHFOHUN VDFWLRQ.

  RULE 6
  G $GGLWLRQDO7LPH$IWHU&HUWDLQ.LQGVRI6HUYLFH

      :KHQDSDUW\PD\RUPXVWDFWZLWKLQDVSHFLILHGWLPHDIWHUVHUYLFHDQGVHUYLFHLVPDGHXQGHU5XOH E  &  '  ( RU ) GD\VDUH
  DGGHGDIWHUWKHSHULRGZRXOGRWKHUZLVHH[SLUHXQGHU5XOH D 
  RULE 58(e)
  &RVWRU)HH$ZDUGV
       2UGLQDULO\WKHHQWU\RIMXGJPHQWPD\QRWEHGHOD\HGQRUWKHWLPHIRUDSSHDOH[WHQGHGLQRUGHUWRWD[FRVWVRUDZDUGIHHV%XWLID
  WLPHO\PRWLRQIRUDWWRUQH\ VIHHVLVPDGHXQGHU5XOH G  WKHFRXUWPD\DFWEHIRUHDQRWLFHRIDSSHDOKDVEHHQILOHGDQGEHFRPH
  HIIHFWLYHWRRUGHUWKDWWKHPRWLRQKDYHWKHVDPHHIIHFWXQGHU)HGHUDO5XOHRI$SSHOODWH3URFHGXUH D  DVDWLPHO\PRWLRQXQGHU5XOH
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